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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  PEGAWAGNABA DIDIER
  KIYALI,

         Plaintiff,
                                                           Case No:
  v.

  CARRINGTON MORTGAGE
  SERVICES, LLC, and BANK OF                               DEMAND FOR JURY TRIAL
  AMERICA, N.A.,

        Defendants.
  _____________________________/


                              PLAINTIFF’S COMPLAINT
                          WITH INJUNCTIVE RELIEF SOUGHT

         COMES NOW, Plaintiff, PEGAWAGNABA DIDIER KIYALI (“Mr. Kiyali”

  or “Plaintiff”), by and through the undersigned counsel, and hereby sues and files this

  Complaint and Demand for Jury Trial with Injunctive Relief Sought against Defendants,

  CARRINGTON MORTGAGE SERVICES, LLC (“Debt Collector”) and BANK OF

  AMERICA, N.A. (“Debt Owner”) (collectively “Defendants”), and in support thereof

  states as follows:

                                            Introduction

         1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

  by Fla. Stat. § 559.55 (6) and Defendants’ violations of the Fair Debt Collection Practices

  Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”), and the Florida Consumer Collection

  Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect such Debt



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  by sending Mr. Kiyali numerous collection letters that misrepresent the amount of the

  alleged Debt, and by improperly servicing Mr. Kiyali’s mortgage loan in reckless

  disregard for Mr. Kiyali’s consumer rights, which led to Defendant filing a wrongful

  mortgage foreclosure action against Mr. Kiyali, which can all reasonably be expected to

  harass Mr. Kiyali.

                                        Jurisdiction and Venue

           2.      This Court has subject matter jurisdiction over the instant case arising

  under the federal question presented in the FDCPA pursuant to 28 U.S.C. § 1331.

           3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b) and 15 U.S.C.

  § 1692k (d) and Fla. Stat. § 559.77 (1), as a substantial part of the events or omissions

  giving rise to the claims occurred in this judicial district.

                                                  Parties

           4.      Plaintiff, Mr. Kiyali, was and is a natural person and, at all times material

  hereto, is an adult, a resident of Hillsborough County, Florida, a “consumer” as defined

  by 15 U.S.C. § 1692a (3), and a “debtor” or “consumer” as defined by Fla. Stat. § 559.55

  (8).

           5.      At all times material hereto, Debt Owner was and is a corporation with its

  principle place of business in the State of North Carolina and its registered agent, C T

  CORPORATION SYSTEM, located at 1200 South Pine Island Road, Plantation, FL

  33324.

           6.      At all times material hereto, Debt Collector was and is a foreign limited

  liability company with its principle place of business in the State of California and its



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  registered agent, C T CORPORATION SYSTEM, located at 1200 South Pine Island

  Road, Plantation, FL 33324.

         7.       Further, at all times material hereto, Debt Collector is a “Consumer

  Collection Agency” as defined by Fla. Stat. § 559.55 (3) and/or a “Debt Collector” as

  defined by Fla. Stat. § 559.55 (7) and 15 U.S.C. § 1692a (6).

         8.       At all times material hereto, Debt Collector was performing debt

  collection owed to Debt Owner to satisfy Mr. Kiyali’s alleged debt.

         9.       At all times material hereto, Debt Collector was acting within the scope of

  an employee, representative, or agent on behalf of Debt Owner for purposes of collecting

  Mr. Kiyali’s alleged debt for Debt Owner.

         10.      As such, Debt Owner is responsible for the conduct of Debt Collector as

  its employee, representative, or agent.

         11.      Under information and belief, Debt Owner granted Debt Collector access

  to information and systems that normally would be within Debt Owner’s exclusive

  control, including, but not limited to Mr. Kiyali’s information.

         12.      Under information and belief, Debt Owner allowed Debt Collector to enter

  Mr. Kiyali’s information into Debt Owner’s sales or customer systems.

         13.      Under information and belief, Debt Owner gave Debt Collector authority

  to use the principal’s trade name, trademark, or service mark.

         14.      Under information and belief, Debt Owner approved, wrote, or reviewed a

  form letter for Debt Collector to use when sending collection letters to Mr. Kiyali in

  connection with collection of an alleged Debt.



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            15.      Under information and belief, Debt Owner had actual knowledge of Debt

  Collector’s FDCPA and FCCPA violations when servicing Mr. Kiyali’s mortgage loan

  and misrepresenting multiple legal rights against Mr. Kiyali and Debt Owner failed to

  stop such violations by Debt Collector.

            16.      Under information and belief, via a contractual relationship between the

  parties, Debt Owner had control or the ability to control Debt Collector’s actions in

  servicing Mr. Kiyali’s mortgage loan on behalf of Debt Owner.

                                             Statements of Fact

            17.      On or around July 7, 2008, Mr. Kiyali executed and delivered a note and

  mortgage in favor of Security Atlantic Mortgage Co. Inc., secured by property located at

  2539 Centennial Falcon Drive, Valrico, FL 33594 (“Property”).

            18.      On October 26, 2016, Mr. Kiyali entered into an FHA Insured Loan

  Modification Agreement with Debt Owner. See Exhibit A.

            19.      On September 10, 2017, Hurricane Irma made landfall in Florida.

            20.      Hurricane Irma is the fifth-costliest hurricane to hit the mainland United

  States, causing an estimated $50 billion in damage according to the National Hurricane

  Center.

            21.      All sixty-seven Florida counties, including Hillsborough County where

  Mr. Kiyali’s home is located, were presidentially-declared major disaster areas due to

  Hurricane Irma.

            22.      At the time of Hurricane Irma, Mr. Kiyali’s home mortgage loan account

  was identified by the unique loan number ending in 3089 (“Mortgage”).



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         23.      Mr. Kiyali was current on his payments toward the Mortgage at the time

  of Hurricane Irma.

         24.      In October of 2017, Mr. Kiyali entered into a disaster forbearance program

  (“Disaster Forbearance Program”) with Debt Owner as Debt Owner was also servicer of

  the Mortgage, deferring his regular monthly installment payments towards the Mortgage

  for three months.

         25.      Despite the Disaster Forbearance Program, on November 17, 2017, Debt

  Owner sent Mr. Kiyali a collection letter (“Collection Letter 1”). See Exhibit B.

         26.      Collection Letter 1 identified the Mortgage loan number; the Property

  address; demanded a “Total Amount Due” of $12,146.47 (“Debt”); demanded a

  “Payment due date” of December 1, 2017; threatened a late fee of $75.31 if payment was

  received after December 18, 2017; and offered options for payment including PayPlan,

  online, by mail, and by phone. See Exhibit B.

         27.      On December 18, 2017, Debt Owner sent Mr. Kiyali another collection

  letter (“Collection Letter 2”). See Exhibit C.

         28.      Collection Letter 2 identified the Mortgage loan number; the Property

  address; demanded a “Total Amount Due” of $12,146.47; demanded a “Payment due

  date” of January 1, 2018; threatened a late fee of $75.31 if payment was received after

  January 17, 2018; and offered options for payment including PayPlan, online, by mail,

  and by phone. See Exhibit C.




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         29.      Included in Collection Letter 2 was a “Delinquency Notice” stating Mr.

  Kiyali was 78 days delinquent on the Mortgage, despite Mr. Kiyali being current on the

  Mortgage pursuant to the Disaster Forbearance Program. See Exhibit C.

         30.      At the end of the Disaster Forbearance Program, Mr. Kiyali began

  remitting payment towards the Mortgage starting with a payment on February 12, 2018.

         31.      Despite Mr. Kiyali making his February 2018 payment towards the

  Mortgage, on February 20, 2018, Debt Owner sent Mr. Kiyali another collection letter

  (“Collection Letter 3”). See Exhibit D.

         32.      Collection Letter 3 identified the Mortgage loan number; the Property

  address; demanded a “Total Amount Due” of $14,034.66; demanded a “Payment due

  date” of March 1, 2018; threatened a late fee of $75.41 if payment was received after

  March 19, 2018; and offered options for payment including PayPlan, online, by mail, and

  by phone. See Exhibit D.

         33.      Mr. Kiyali thereafter continued making timely payments towards the

  Mortgage in March, April, and May of 2018.

         34.      On May 17, 2018, Debt Owner sent Mr. Kiyali another collection letter

  (“Collection Letter 4”). See Exhibit E.

         35.      Collection Letter 4 identified the Mortgage loan number; the Property

  address; demanded a “Total Amount Due” of $15,922.85; demanded a “Payment due

  date” of June 1, 2018; threatened a late fee of $75.41 if payment was received after June

  18, 2018; and offered options for payment including PayPlan, online, by mail, and by

  phone. See Exhibit E.



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         36.      Included in Collection Letter 4 was a “Delinquency Notice” stating that as

  of May 17, 2018, Mr. Kiyali was 136 days delinquent on the Mortgage, despite Mr.

  Kiyali’s Mortgage payment on May 7, 2018.

         37.      Thereafter, Mr. Kiyali made his June 2018 payment towards the Mortgage

  timely on June 4, 2018.

         38.      On June 18, 2018, Debt Owner sent Mr. Kiyali another collection letter

  (“Collection Letter 5”). See Exhibit F.

         39.      Collection Letter 5 identified the Mortgage loan number; the Property

  address; demanded a “Total Amount Due” of $15,998.26; demanded a “Payment due

  date” of July 1, 2018; threatened a late fee of $75.41 if payment was received after July

  17, 2018; and offered options for payment including PayPlan, online, by mail, and by

  phone. See Exhibit F.

         40.      Included in Collection Letter 5 was another “Delinquency Notice” stating

  that as of June 18, 2018, Mr. Kiyali was 137 days delinquent on the Mortgage despite Mr.

  Kiyali’s Mortgage payment on June 4, 2018. See Exhibit F.

         41.      Debt Owner’s multiple misrepresentations on the Mortgage account

  caused Mr. Kiyali confusion about the status of his Mortgage.

         42.      On July 23, 2018, Debt Collector sent Mr. Kiyali a Notice of Servicing

  Transfer indicating that his Mortgage was being transferred from Debt Owner to Debt

  Collector and identified Debt Collector’s unique loan number for Mr. Kiyali’s Mortgage

  loan, ending in 7798. See Exhibit G.




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         43.      Under information and belief, Debt Owner reflected that the Mortgage

  was in default at the time it assigned the servicing rights to the Mortgage to Debt

  Collector.

         44.      After Debt Collector began servicing the Mortgage, Mr. Kiyali had issues

  remitting his regular monthly loan payment to Debt Collector as a result of the transfer in

  servicing.

         45.      Mr. Kiyali attempted to timely make his regular monthly loan payments

  and contacted Debt Collector multiple times to figure out how to properly remit the

  payment after Debt Collector was transferred servicing on the Mortgage, to no avail.

         46.      On July 26, 2018, Debt Collector sent Mr. Kiyali a Notice of Intent to

  Foreclose despite Mr. Kiyali making consistent payments toward the Mortgage since

  February of 2018 (“Notice of Intent to Foreclose”). See Exhibit H.

         47.      The Notice of Intent to Foreclose identified Debt Owner, the Mortgage

  loan number, the Property address, and demanded payment in the amount of $13,732.60

  within 35 days to cure the delinquency on the Mortgage, stating that payments had

  allegedly not been made dating back to March 1, 2018. See Exhibit H.

         48.      Additionally, the Notice of Intent to Foreclose identified options for

  payment including overnight mail, Western Union, and MoneyGram, and a provision

  stating that if Mr. Kiyali fails to cure the delinquency within 35 days, it may result in

  acceleration of the total amount, foreclosure by judicial proceeding, and sale of the

  Property. See Exhibit H.




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         49.      Soon after, Mr. Kiyali contacted Debt Owner demanding confirmation of

  the dates Mr. Kiyali’s Mortgage was under the Disaster Forbearance Program and proof

  that Mr. Kiyali was delinquent on the Mortgage.

         50.      In response, on August 2, 2018, Debt Owner sent Mr. Kiyali a letter

  indicating Mr. Kiyali’s Mortgage loan had been “under a 3 month Special Forbearance

  agreement” due to Hurricane Irma which began October of 2017 and ended December of

  2017 (“Confirmation Letter”). See Exhibit I.

         51.      In the Confirmation Letter, Debt Owner also indicated that on July 14,

  2018, the servicing of Mr. Kiyali’s home loan was transferred from Debt Owner to Debt

  Collector.

         52.      Mr. Kiyali requested a reinstatement letter from Debt Collector in hopes of

  clarifying the status of his Mortgage because he was confused as to how he could be

  facing foreclosure when he had been timely remitting all payments.

         53.      On September 15, 2018, Debt Collector sent Mr. Kiyali an Account

  Reinstatement Notification indicating the Mortgage loan number, the Property address,

  and demanding a total payment of $20,450.34 prior to October 10, 2018 in order for Mr.

  Kiyali to cure the delinquency owed under the Mortgage, and provided three payment

  options including bank wire, MoneyGram, or Western Union Quick Collect

  (“Reinstatement Notification”). See Exhibit J.

         54.      Mr. Kiyali continued attempting to make monthly payments toward his

  Mortgage.




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          55.        However, on or around October 24, 2018, Debt Owner filed an action

   seeking to foreclose on the Property and collect the deficiency owed under the Mortgage

   dating back to March 1, 2018. See Hillsborough County Case No. 18-CA-010449

   (“Foreclosure Case”). See Exhibit K.

          56.        Debt Collector signed the Foreclosure Case complaint as attorney-in-fact.

   See Exhibit K, p. 5.

          57.        The Foreclosure Case complaint requested the court to retain jurisdiction

   to seek a deficiency judgment. See Exhibit K, p. 4.

          58.        Defendants’ communications in connection with the collection of the

   alleged Debt on the Mortgage harassed Mr. Kiyali due to the content, timing, and

   frequency of the communications.

          59.        Defendants’ collection letters 1-5 (collectively “Collection Letters”) were

   all sent in connection with the collection of the Debt.

          60.        Defendants’ filing of the wrongful Foreclosure Case against Mr. Kiyali

   harassed and humiliated Mr. Kiyali due to the illegitimacy of such action.

          61.        Defendants’ Foreclosure Case was filed in connection with the collection

   of the Debt.

            Count 1: Violation of the Fair Debt Collection Practices Act (“FDCPA”)
                                   (as against Debt Collector)

          62.        Mr. Kiyali re-alleges paragraphs 1-61 and incorporates the same herein by

   reference.

          63.        Mr. Kiyali is a “consumer” within the meaning of the FDCPA.

          64.        The subject debt is a “consumer debt” within the meaning of the FDCPA.


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          65.      Debt Collector is a “debt collector” within the meaning of the FDCPA.

          66.      Debt Collector violated the FDCPA. Debt Collector’s violations include,

   but are not limited to, the following:

                a. Debt Collector violated 15 U.S.C. § 1692d by attempting to

                   collect the Debt from Mr. Kiyali after Mr. Kiyali was

                   making timely payments toward the Mortgage account, the

                   natural consequence of which is to harass and abuse Mr.

                   Kiyali in connection with the collection of the Debt.

                b. Debt Collector violated 15 U.S.C. § 1692d by improperly

                   servicing Mr. Kiyali’s Mortgage despite Mr. Kiyali’s

                   attempts to correct Debt Collector’s servicing errors, the

                   natural consequence of which is to harass and abuse Mr.

                   Kiyali in connection with the collection of the Debt.

                c. Debt Collector violated 15 U.S.C. § 1692d by pursuing the

                   wrongful foreclosure action against Mr. Kiyali, the natural

                   consequence of which is to harass and abuse Mr. Kiyali in

                   connection with the collection of the Debt.

                d. Debt Collector violated 15 U.S.C. § 1692e (2)(A) by falsely

                   representing the character, amount, or legal status of the

                   Debt in its Collection Letters.

                e. Debt Collector violated 15 U.S.C. § 1692e (2)(A) by

                   misrepresenting the legal right to foreclose on Mr. Kiyali’s



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                     Property and collect any deficiency balance owed thereafter

                     when Mr. Kiyali had been making timely payments

                     towards the Mortgage.

                  f. Debt Collector violated 15 U.S.C. § 1692e (4) by falsely

                     representing that nonpayment of the Debt will result in the

                     sale of the Property when such action would be unlawful.

           67.       As a result of the above violations of the FDCPA, Mr. Kiyali has been

   subjected to illegal collection activities for which he has been damaged.

           68.       Debt Collector’s actions were either intentional or grossly negligent as, in

   addition to complying with his loan payment requirements, Mr. Kiyali did everything in

   his power to notify Debt Collector and/or Debt Owner of the improper servicing on Mr.

   Kiyali’s loan. Defendants failed to follow any reasonable default servicing standards that

   would prevent it from, for example, signing the wrongful Foreclosure Case against Mr.

   Kiyali as attorney-in-fact. Instead, Defendants intentionally disregarded Mr. Kiyali’s

   attempts to correct the situation, sent multiple collection letters to Mr. Kiyali demanding

   payments that were already remitted by Mr. Kiyali, and filed a wrongful foreclosure

   action against Mr. Kiyali, which has caused Mr. Kiyali extreme emotional distress and

   frustration.

           69.       Debt Collector’s actions have damaged Mr. Kiyali by invading his

   privacy.

           70.       Debt Collector’s actions have damaged Mr. Kiyali by causing him

   embarrassment.



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            71.      Debt Collector’s actions have damaged Mr. Kiyali by causing him stress.

            72.      Debt Collector’s actions have damaged Mr. Kiyali by causing him

   aggravation.

            73.      Debt Collector’s actions have damaged Mr. Kiyali by harming his

   reputation.

            74.      Debt Collector’s actions have damaged Mr. Kiyali by causing him loss of

   sleep.

            75.      It has been necessary for Mr. Kiyali to retain the undersigned counsel to

   prosecute the instant action, for which he is obligated to pay a reasonable attorney’s fee.

            76.      All conditions precedent to this action have occurred.

            WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Debt Collector as follows:

                     a. Awarding statutory damages as provided                       by 15 U.S.C. §

                         1692k(a)(2)(A);

                     b. Awarding actual damages;

                     c. Awarding costs and attorneys’ fees; and

                     d. Any other and further relief as this Court deems just and equitable.

        Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)
                                   (as against Debt Collector)

            77.      Mr. Kiyali re-alleges paragraphs 1-61 and incorporates the same herein by

   reference.

            78.      Debt Collector violated the FCCPA. Debt Collector’s violations include,

   but are not limited to, the following:


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           a. Debt Collector violated Fla. Stat. § 559.72 (7) by willfully

               filing the Foreclosure Case against Mr. Kiyali when it knew

               Mr. Kiyali had timely been remitting payments towards the

               Mortgage, which can reasonably be expected to harass him.

           b. Debt Collector violated Fla. Stat. § 559.72 (7) by willfully

               sending Mr. Kiyali multiple collection letters that

               demanded an illegitimate amount from Mr. Kiyali, when

               Defendant knew Mr. Kiyali had timely been remitting

               payments towards the Mortgage, which can reasonably be

               expected to harass him.

           c. Debt Collector violated Fla. Stat. § 559.72 (9) by claiming,

               attempting, and threatening to enforce the Debt by sending

               Mr. Kiyali multiple collection letters that misrepresented

               amounts owed when Debt Collector knew that the Debt

               was not legitimate.

           d. Debt Collector violated Fla. Stat. § 559.72 (9) by claiming,

               attempting, and threatening to enforce the Debt by

               prosecuting the Foreclosure Case when Debt Collector

               knew that the Debt was not legitimate and that Debt

               Collector does not have the legal right to pursue the

               Foreclosure Case.




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             79.      As a result of the above violations of the FCCPA, Mr. Kiyali has been

   subjected to unwarranted and illegal collection activities and harassment for which he has

   been damaged.

             80.      Debt Collector’s actions were done with malicious intent and with a

   reckless disregard of Mr. Kiyali’s rights, as Debt Collector’s actions are wholly without

   cause or excuse, when (1) Mr. Kiyali did not choose Debt Collector to service his loan;

   (2) Mr. Kiyali has suffered multiple improper collection attempts that stem from Debt

   Collector’s failure to properly service the Mortgage; (3) despite Debt Collector knowing

   that Mr. Kiyali was not in default, Debt Collector still signed the Foreclosure Complaint

   against Mr. Kiyali as attorney-in-fact. There is no cause or excuse for Debt Collector to

   violate the law as a result of its own failures. This problem would not have occurred but

   for Debt Collector’s failure to properly service the Mortgage, and Debt Collector’s

   subsequent willful, knowing, and conscious disregard for the law. Debt Collector decided

   to go to the egregious extent of filing the Foreclosure Case without ever taking the time

   to review the Mortgage file to find that it was Debt Collector who had erred, not Mr.

   Kiyali.

             81.      Debt Collector’s actions have damaged Mr. Kiyali by invading his

   privacy.

             82.      Debt Collector’s actions have damaged Mr. Kiyali by causing him

   embarrassment.

             83.      Debt Collector’s actions have damaged Mr. Kiyali by causing him stress.




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            84.      Debt Collector’s actions have damaged Mr. Kiyali by causing him

   aggravation.

            85.      Debt Collector’s actions have damaged Mr. Kiyali by harming his

   reputation.

            86.      Debt Collector’s actions have damaged Mr. Kiyali by causing him loss of

   sleep.

            87.      It has been necessary for Mr. Kiyali to retain the undersigned counsel to

   prosecute the instant action, for which he is obligated to pay a reasonable attorney’s fee.

            88.      All conditions precedent to this action have occurred.

            WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Debt Collector as follows:

                     a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                     b. Awarding actual damages;

                     c. Awarding punitive damages;

                     d. Awarding costs and attorneys’ fees;

                     e. Ordering an injunction preventing further wrongful contact by the

                         Defendant; and

                     f. Any other and further relief as this Court deems just and equitable.

        Count 3: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)
                                    (as against Debt Owner)

            89.      Plaintiff re-alleges paragraphs 1-61 and incorporates the same herein by

   reference.




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          90.      Debt Owner violated the FCCPA. Debt Owner’s violations include, but

   are not limited to, the following:

                a. Debt Owner violated Fla. Stat. § 559.72 (7) by willfully

                   assigning Debt Collector to collect an illegitimate amount

                   from Mr. Kiyali, which can reasonably be expected to

                   harass him.

                b. Debt Owner violated Fla. Stat. § 559.72 (7) by willfully

                   filing the Foreclosure Case against Mr. Kiyali when

                   Defendant knew Mr. Kiyali had timely been remitting

                   payments towards the Mortgage, which can reasonably be

                   expected to harass him.

                c. Debt Owner violated Fla. Stat. § 559.72 (7) by willfully

                   sending Mr. Kiyali multiple collection letters that

                   demanded an illegitimate amount from Mr. Kiyali, which

                   can reasonably be expected to harass him.

                d. Debt Owner violated Fla. Stat. § 559.72 (9) by

                   misrepresenting the amount of the Debt and status of the

                   Debt as in default in its multiple Collection Letters to Mr.

                   Kiyali when Debt Owner knew the amounts were false.

                e. Debt Owner violated Fla. Stat. § 559.72 (9) by claiming,

                   attempting, and threatening to enforce the Debt by filing

                   the Foreclosure Case when Debt Owner knew that the Debt



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                   was not legitimate and that Debt Owner does not have the

                   legal right to pursue the Foreclosure Case.

          91.      At all times relevant hereto, Debt Owner was vicariously liable for the

   actions of Debt Collector.

          92.      Debt Collector violated the FCCPA. Debt Collector’s violations include,

   but are not limited to, the following:

                a. Debt Collector violated Fla. Stat. § 559.72 (7) by willfully

                   filing the Foreclosure Case against Mr. Kiyali when it knew

                   Mr. Kiyali had timely been remitting payments towards the

                   Mortgage, which can reasonably be expected to harass him.

                b. Debt Collector violated Fla. Stat. § 559.72 (7) by willfully

                   sending Mr. Kiyali multiple collection letters that

                   demanded an illegitimate amount from Mr. Kiyali, when

                   Defendant knew Mr. Kiyali had timely been remitting

                   payments towards the Mortgage, which can reasonably be

                   expected to harass him.

                c. Debt Collector violated Fla. Stat. § 559.72 (9) by claiming,

                   attempting, and threatening to enforce the Debt by sending

                   Mr. Kiyali multiple collection letters that misrepresented

                   amounts owed when Debt Collector knew that the Debt

                   was not legitimate.




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                d. Debt Collector violated Fla. Stat. § 559.72 (9) by claiming,

                   attempting, and threatening to enforce the Debt by

                   prosecuting the Foreclosure Case when Debt Collector

                   knew that the Debt was not legitimate and that Debt

                   Collector does not have the legal right to pursue the

                   Foreclosure Case.

          93.      As a result of the above violations of the FCCPA, Mr. Kiyali has been

   subjected to unwarranted and illegal collection activities and harassment for which he has

   been damaged.

          94.      Debt Owner’s actions were done with malicious intent and with a reckless

   disregard of Mr. Kiyali’s rights, as Debt Owner’s actions are wholly without cause or

   excuse, when (1) Debt Owner willfully assigned Debt Collector to collect an illegitimate

   amount from Mr. Kiyali when Mr. Kiyali did not choose Debt Collector to service his

   loan; (2) Mr. Kiyali has suffered multiple improper collection attempts from Debt Owner

   that stem from Debt Owner’s reckless disregard of Mr. Kiyali’s rights; and (3) Debt

   Owner willfully filed the Foreclosure Case against Mr. Kiyali despite Debt Owner

   knowing that Mr. Kiyali was not in default because Mr. Kiyali had been remitting timely

   payments towards the Mortgage. There is no cause or excuse for Debt Owner to violate

   the law as a result of its own failures. This problem would not have occurred but for Debt

   Owner assigning Debt Collector to collect an illegitimate amount from Mr. Kiyali, and

   Debt Collector’s subsequent willful, knowing, and conscious disregard for the law. Debt

   Owner decided to go to the egregious extent of filing the Foreclosure Case without ever



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   taking the time to review the Mortgage file to find that it was Debt Owner who had erred,

   not Mr. Kiyali.

             95.       Debt Collector’s actions were done with malicious intent and with a

   reckless disregard of Mr. Kiyali’s rights, as Debt Collector’s actions are wholly without

   cause or excuse, when (1) Mr. Kiyali did not choose Debt Collector to service his loan;

   (2) Mr. Kiyali has suffered multiple improper collection attempts that stem from Debt

   Collector’s failure to properly service the Mortgage; (3) despite Debt Collector knowing

   that Mr. Kiyali was not in default, Debt Collector still signed the Foreclosure Complaint

   against Mr. Kiyali as attorney-in-fact. There is no cause or excuse for Debt Collector to

   violate the law as a result of its own failures. This problem would not have occurred but

   for Debt Collector’s failure to properly service the Mortgage, and Debt Collector’s

   subsequent willful, knowing, and conscious disregard for the law. Debt Collector decided

   to go to the egregious extent of filing the Foreclosure Case without ever taking the time

   to review the Mortgage file to find that it was Debt Collector who had erred, not Mr.

   Kiyali.

             96.       Defendants’ actions have damaged Mr. Kiyali by invading his privacy.

             97.       Defendants’ actions have damaged Mr. Kiyali by causing him

   embarrassment.

             98.       Defendants’ actions have damaged Mr. Kiyali by causing him stress.

             99.       Defendants’ actions have damaged Mr. Kiyali by causing him

   aggravation.

             100.      Defendants’ actions have damaged Mr. Kiyali by harming his reputation.



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              101.      Defendants’ actions have damaged Mr. Kiyali by causing him loss of

   sleep.

              102.      It has been necessary for Mr. Kiyali to retain the undersigned counsel to

   prosecute the instant action, for which he is obligated to pay a reasonable attorney’s fee.

              103.      All conditions precedent to this action have occurred.

              WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Debt Owner as follows:

                        a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                        b. Awarding actual damages;

                        c. Awarding punitive damages;

                        d. Awarding costs and attorneys’ fees;

                        e. Ordering an injunction preventing further wrongful contact by the

                            Defendant; and

                        g. Any other and further relief as this Court deems just and equitable.



                                        DEMAND FOR JURY TRIAL

              Plaintiff, Pegawagnaba Didier Kiyali, demands a trial by jury on all issues so

   triable.




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   Respectfully submitted this April 4, 2019,

                                                     /s/ Michael A. Ziegler
                                                     Michael A. Ziegler, Esq.
                                                     Florida Bar No. 74864
                                                     mike@zieglerlawoffice.com

                                                     /s/ Kaelyn Steinkraus
                                                     Kaelyn Steinkraus, Esq.
                                                     Florida Bar No. 125132
                                                     kaelyn@zieglerlawoffice.com

                                                     Law Office of Michael A. Ziegler, P.L.
                                                     2561 Nursery Road, Suite A
                                                     Clearwater, FL 33764
                                                     (p) (727) 538-4188
                                                     (f) (727) 362-4778
                                                     Attorneys and Trial Counsel for Plaintiff




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